   Case 2:09-cr-00113-GMN-EJY               Document 483       Filed 06/26/12      Page 1 of 1




                                  UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA

 U SA
                      Plaintifr
                                                              D istrictN o. 2:lICR-09-II3-GM N
 VS.


 ROBERTO LOPEZ


                     Defendant.

                        ORDER TEM PORARILY UNSEALING TRANSCRIPT

        On June21 2012thiscourtreceived atranscriptorderform datedJune21 2012 requestingaTranscript of
thehearingheldonFebruary 17,2011from MargaretHonrath,çounselforthePlaintiftlUnitedStatesofAmerica, in
whicha portion ofthehearingissealed.

        IT IS THE ORDER OF THE COURT thatportion ofthe sealed recording shallbeunsealed by theClerk
ferthelimitedpurposeofproviding atlanscriptofhearing asrequestedby Plaintim sCounsel.


        IT IS FURTHER ORDERED thattheportionofthesealedrecordingshallthereafterberesealedby the
Clerk,untilfurtherorderofthisCourt.


         IT IS FURTHER ORDERED thatPlaintiff'sCounselshallnotdisclose thescaled contentsofthe
transcriptto anyoneotherthantherepresentativesofthepartiesdirectlyconcerned with thiscase.


        DATED this       day ofJune,2012.




                                                GloriaM .N arr
                                                United Stat   'trictJudge
